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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. SA CV 21-01312-DOC (KESx) Date October 19, 2021

 

 

Title Econo Lube Franchisor SPV LLC et al v. Ajay Patel et al

 

 

 

Present: The Honorable DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

 

 

 

Deborah Lewman None Present
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present
Proceedings: (INCHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR

LACK OF PROSECUTION

The Court, on its own motion, hereby ORDERS plaintiff, to show cause in writing no
later than October 26, 2021, why this action should not be dismissed for lack of prosecution.
As an alternative to a written response by plaintiffs, the Court will consider the filing of one of
the following, as an appropriate response to this OSC, on or before the above date:

X Plaintiff filing a Motion for Entry of Default Judgment (FRCivP 55b) as to defendants
Ajay Patel and Meineke Automotive of Huntington Beach, Inc.

Absent a showing of good cause, an action shall be dismissed if the summons and
complaint have not been served upon all defendants within 90 days after the filing of the
complaint. Fed. R. Civ.P 4(m). The Court may dismiss the entire action prior to the
expiration of such time, however, if plaintiff has not diligently prosecuted the action.

It is plaintiff's responsibility to respond promptly to all Orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time to respond. If
necessary, plaintiffs must also pursue Rule 55 remedies promptly upon the default of any
defendant. All stipulations affecting the progress of the case must be approved by the Court.
Local Rule 7-1.

No oral argument of this matter will be heard unless ordered by the Court. The Order
will stand submitted upon the filing of a responsive pleading or motion on or before the date
upon which a response by plaintiffs is due.

 

Initial of Deputy Clerk djl

 

 

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